              Case 2:10-md-02179-CJB-DPC Document 6793-5 Filed 06/25/12 Page 1 of 2

AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Eastern District
                                                  __________  DistrictofofLouisiana
                                                                           __________

                    Thanh Hai, Inc., et al.
                                                                     )
                                                                     )
                             Plaintiff
                                                                     )
                                v.                                   )     Civil Action No. 2:11-cv-03180
    BP AMERICA PRODUCTION COMPANY, et al.                            )
                                                                     )
                            Defendant
                                                                     )


                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) BRIAN WINKLER
                                         8828 Westgate Street
                                         Metairie, Louisiana 70003




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Stephen S. Kreller
                                         The Kreller Law Firm
                                         757 St. Charles Avenue, Suite 301
                                         New Orleans, LA 70130
                                         Phone: 504-484-3488
                                         Email: ssk@krellerlaw.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:             06/25/2012
                                                                                        Signature of Clerk or Deputy Clerk
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 Civil Action No. 2:11-cv-03180

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)    BRIAN WINKLER
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                  on (date)                          ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                          ; or

           ’ I returned the summons unexecuted because                                                                             ; or

           ’ Other (specify):
                                                                                                                                          .


           My fees are $                           for travel and $                 for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                     Reset
